Case 2:19-cv-20022-SDW-SCM Document 1 Filed 11/09/19 Page 1 of 11 PageID: 1



                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

 JENNIFER ZACHARCZUK,

         Plaintiffs,
                                                                 Civil Case No:
 vs.
                                                                 COMPLAINT
 REGO   TRADING,       INC., BASIC
 TRUCKING, INC., and VLADIMIR
                                                             Jury Trial Demanded
 SHUKHMAN, individually,

         Defendants.



       Plaintiff JENNIFER ZACHARCZUK (“Plaintiff” or “Zacharczuk ”), by and through

her attorneys, upon personal knowledge as to herself and upon information and belief as to

other matters, brings this Complaint against Defendants REGO TRADING, INC. (“Rego”),

BASIC TRUCKING, INC. (“BT”), and all other affiliated entities and/or joint employers

(collectively “Corporate Defendants”) and VLADIMIR SHUKHMAN, individually

(“Shukhman”) (collectively “Defendants”) and alleges as follows:

                                       INTRODUCTION


  1. Plaintiff brings this lawsuit seeking recovery against Defendants for Defendants’

       violation of the overtime provisions of the Fair Labor Standards Act, as amended

       (the “FLSA” or the “Act”), 29 U.S.C. §201 et. seq. and the New Jersey State Wage

       Payment Law, N.J.S.A. 34:11-56a et seq. (as amended on August 6, 2019, S1790),

       (“NJWHL”).

  2. Plaintiff brings this lawsuit seeking recovery against Defendants for Defendants’ violation

       of the retaliation provisions of the FLSA, 29 U.S.C. §215(a)(3), the New Jersey State Wage

       and Hour Law, N.J.S.A. 34:11-56a24, and the New Jersey Law against Discrimination,


                                                1
Case 2:19-cv-20022-SDW-SCM Document 1 Filed 11/09/19 Page 2 of 11 PageID: 2



     N.J.S.A. 10:5-12(d).

  3. Beginning in approximately 2011, and continuing until in or about July 2019,

     Defendants have engaged in a policy and practice of requiring Plaintiff to regularly

     work in excess of forty (40) hours per week, without being paid overtime

     compensation at the statutory overtime rate as required by applicable Federal and New

     Jersey state law.

  4. Beginning in November 2018, and continuing to date, Defendants have failed to make

     available to Plaintiff earned sick leave as required by N.J.S.A. 34:11D-5.

  5. Plaintiff has initiated this action against Defendants to recover damages, as well as

     attorneys’ fees and costs, sustained resultant from Defendants’ retaliatory actions after

     Plaintiff filed a claim against Defendants for unpaid overtime compensation and unpaid

     sick leave.

                                       JURISDICTION AND VENUE

  6. This Court has subject matter jurisdiction over Plaintiff’s FLSA claims pursuant to 28

     U.S.C. § 1331 and by 29 U.S.C. §201 et. seq.

  7. This Court has subject matter jurisdiction over Plaintiff’s NJWHL claims pursuant to

      28 U.S.C. §§ 1332 and 1367.

  8. Venue is proper in the District of New Jersey pursuant to 28 U.S.C. § 1391(b)(2)

     because a substantial part of the events or omissions giving rise to the claims occurred

     in this district.

  9. At all times material hereto, Plaintiff performed non-exempt secretarial duties for

     the Defendants in Metuchen, Middlesex County, New Jersey. Defendants are




                                                2
Case 2:19-cv-20022-SDW-SCM Document 1 Filed 11/09/19 Page 3 of 11 PageID: 3



     therefore within the jurisdiction and venue of this Court.

  10. At all times pertinent to this Complaint, the Corporate Defendants were and remain

     an enterprise engaged in interstate commerce or in the production of interstate goods

     for commerce as defined by the Act, 29 U.S.C. §§ 203(r) and 203(s). More specifically,

     Defendants own, operate, and/or manage a wholesale distributor of brand name

     consumer products, receiving goods from manufacturers from states throughout the

     country and thereafter sell and, at times, deliver these goods throughout the tri-state area.

     Alternatively, Plaintiff worked in interstate commerce, i.e., taking orders and payments

     from out of state customers. Thus, Plaintiff and those similarly situated employees fall

     within the protections of the Act.

                                               PARTIES

      Plaintiff

  11. Plaintiff Zacharczuk is an adult individual who is a resident of Colonia, New Jersey.

  12. Plaintiff Zacharczuk was employed by Defendants full time as an office assistant

     performing duties in furtherance of Defendants’ business, from in or about 2011, until

     October 24, 2019.

      Corporate Defendants

  13. Rego Trading, Inc., is a New Jersey corporation, formed in or about 1994, with its

      principal offices located at 200 Liberty Street, Metuchen, New Jersey.

  14. Basic Trucking, Inc., is a New Jersey corporation, also started in or about 1994, with its

     principal offices at the same location as Rego, specifically 200 Liberty Street, Metuchen,

     New Jersey.

  15. Upon information and belief, at all times relevant to this Complaint, the Corporate


                                                3
Case 2:19-cv-20022-SDW-SCM Document 1 Filed 11/09/19 Page 4 of 11 PageID: 4



     Defendants, Rego and BT, employ individuals to perform labor services on behalf of the

     Defendants.


      Individual Defendant

  16. Upon information and belief, Individual Defendant Vladimir Shukhman is a New Jersey

     state resident.

  17. Upon information and belief, at all times relevant to this Complaint, individual

      Defendant Vladimir Shukhman has been an owner, partner, officer and/or manager of

      the Corporate Defendants Rego and BT.

  18. Upon information and belief, at all times relevant to this Complaint, individual

     Defendant Vladimir Shukhman has had power over personnel decisions at the Corporate

     Defendants’ business.

  19. Defendant Vladimir Shukhman was regularly present at Rego and BT, and managed the

      day to day operations, controlled the employee pay practices and had the power to

      change same, as well as the power to hire and fire employees, set their wages, and

      otherwise control the terms of their employment.

  20. Upon information and belief, at all times relevant to this Complaint, each of the

      Corporate Defendants’ annual gross volume of sales made or business done was not less

      than $500,000.00.

  21. At all times relevant to this Complaint, the Defendants were and are employers

      engaged in commerce under the Fair Labor Standards Act, 29 U.S.C. § 201 et seq.




                                                4
Case 2:19-cv-20022-SDW-SCM Document 1 Filed 11/09/19 Page 5 of 11 PageID: 5



                                                 FACTS

  22. Based upon the information preliminarily available, and subject to discovery in this

      cause, Defendants did not properly compensate Plaintiff for all overtime hours worked in

      a work week.

  23. Plaintiff Zacharczuk routinely worked five (5) days per workweek for Defendants.

  24. Plaintiff Zacharczuk generally worked nine (9) hours per day, or forty-five (45) hours per

      week.

  25. Plaintiff Zacharczuk was paid a salary, regardless of the number of hours she worked per

      week.

  26. Defendants did not provide Plaintiff with paid sick or personal time; nor was Plaintiff

      paid for holiday time; rather, when Plaintiff took time from work, regardless of whether

      she was sick, it was deducted from her salary.

  27. Plaintiff was not paid for her overtime hours worked.

  28. Although Plaintiff was titled as “Director of Sales and Marketing”, she had no

      supervisory duties whatsoever.

  29. Plaintiff had no independent discretion.

  30. Plaintiff did not hire and fire.

  31. Plaintiff did not supervise.

  32. Plaintiff did not set rates of pay.

  33. At all times material hereto, Plaintiff was performing her job duties for the benefit of and

      on behalf of Defendants.

  34. In or about August 2019, another employee of Defendants, filed a claim for unpaid



                                                 5
Case 2:19-cv-20022-SDW-SCM Document 1 Filed 11/09/19 Page 6 of 11 PageID: 6



     overtime compensation with the New Jersey Department of Labor (“NJDOL”).

  35. Shortly thereafter, in or about the end of August 2019, Defendants began requiring

     Plaintiff to clock in and out when she presented to work.

  36. In or about September 2019, Plaintiff filed a claim for unpaid overtime wages and unpaid

     sick time with the New Jersey Department of Labor.

  37. Immediately after filing her claim with the NJDOL, Defendants began retaliating against

     Plaintiff, leading to her termination within one-and-one half months of her NJDOL filing.

  38. More specifically, upon the NJDOL notifying Defendants of Plaintiff’s complaint,

     among other things, Defendants stripped Plaintiff of computer access to information,

     which was important to do her job, including the use of her email, as well as other job

     duties.

  39. Defendants also posted jobs that met Plaintiff’s job description, in order to replace her.

  40. Defendants terminated Plaintiff on October 24, 2019.

  41. This cause of action is brought by Plaintiff to recover from Defendants overtime

     compensation, liquidated damages, and the costs and reasonable attorneys’ fees, under

     the provisions of 29 U.S.C. §216(b), as well as applicable provisions of NJWHL.

  42. At all times pertinent to this complaint, Defendants failed to comply with Title 29

      U.S.C. §§ 201-209, as well as applicable provisions of the NJWHL, in that performed

      services for Defendants for which Defendants made no provision to pay Plaintiff

      compensation to which she was lawfully entitled for hours worked in excess of forty (40)

      within a work week.

  43. This cause of action is brought by Plaintiff to recover damages sustained by Plaintiff,

     resultant from Defendants’ retaliatory actions in violation of the FLSA, 29 U.S.C. §


                                                 6
Case 2:19-cv-20022-SDW-SCM Document 1 Filed 11/09/19 Page 7 of 11 PageID: 7



      215(a)(3), the NJWHL, N.J. Stats. N.J.S.A. §34:11D-5, §34:11-56a24 and §12:56-1.7, and

      the New Jersey Law Against Discrimination (“LAD”), N.J.Stat. § 10:5-12(d).

  44. Plaintiff has retained the law office of Jaffe Glenn Law Group, P.A. to represent her and

      incurred attorneys’ fees and costs in bringing this action. Pursuant to 29 U.S.C. § 216(b),

      the NJWHL, N.J. Stat. §34:11-56a25.1, and the LAD, N.J.Stat. §10:5-27.1, Plaintiff is

      entitled to a recovery of reasonable attorneys’ fees and costs.

                                   COUNT I
                      RECOVERY OF OVERTIME COMPENSATION
                             PURSUANT TO THE FLSA

  45. Plaintiff re-alleges, and incorporates here by reference, all allegations contained above.

  46. Plaintiff is entitled to receive overtime at one-and one-half times her regular

      rate of pay for all hours worked in excess of forty (40) in a work week.


  47. Defendants knowingly and willfully failed to pay Plaintiff at time and one half of her

      regular rate of pay for the overtime hours worked.


  48. By reason of the said intentional, willful, and unlawful acts of Defendants,


  49. Plaintiff has suffered damages plus incurring costs and reasonable attorneys’ fees.


  50. Because Defendants’ violations of the FLSA have been willful, a three-year statute of

      limitations applies, pursuant to 29 U.S.C. § 255.


  51. As a result of Defendants’ willful violations of the Act, Plaintiff is entitled to liquidated

      damages.

                                   COUNT II
                      RECOVERY OF OVERTIME COMPENSATION
                            PURSUANT TO THE NJWHL
  52. Plaintiff re-alleges, and incorporate here by reference, all allegations contained


                                                  7
Case 2:19-cv-20022-SDW-SCM Document 1 Filed 11/09/19 Page 8 of 11 PageID: 8



     in the above Paragraphs.


  53. In violation of New Jersey Statutes §§ 34:11-56a4 et seq., the Defendants


     willfully failed to pay the Plaintiff her statutorily required overtime compensation for

     all the hours that she worked in excess of forty (40) hours a week for the Defendants.


  54. Defendants’ aforementioned conduct is in violation of the NJWHL.


  55. As a direct and proximate cause of Defendants’ actions, Plaintiff suffered damages,

     including but not limited to past lost earnings.

                                COUNT III
          RECOVERY OF DAMAGES FOR DEFENDANTS VIOLATION OF THE
                   RETALIATION PROVISIONS OF THE FLSA

  56. Plaintiff re-alleges and incorporates here by reference, all allegations contained in the

     paragraphs above.

  57. FLSA, 29 U.S.C. § 215(a)(3),makes it unlawful for any person to “discharge or in any other

     manner discriminate against any employee because such employee has filed any complaint

     or instituted or caused to be instituted any proceeding under or related to [the FLSA]”.

  58. Defendants’ above described actions constitute unlawful discrimination and discharge

     amounting to retaliation directly resultant from Plaintiff ‘s complaint made to the New

     Jersey Department of Labor for unpaid wages.

  59. As a direct and proximate result of Defendants’ retaliation, Plaintiff has suffered and seeks

     to recover damages as provided for in the statute and for such other and further relief.

                               COUNT IV
          RECOVERY OF DAMAGES FOR DEFENDANTS’ VIOLATION OF THE
                  RETALIATION PROVISIONS OF THE NJWHL




                                                8
Case 2:19-cv-20022-SDW-SCM Document 1 Filed 11/09/19 Page 9 of 11 PageID: 9



  60. Plaintiff re-alleges and incorporates here by reference, all allegations contained in the

     paragraphs above.

  61. NJ Stat. 34:11-56a24 makes it unlawful for an employer to discriminate against an

     employee who has, amongst other things, instituted a proceeding against her employer for

     a violation of the New Jersey Wage and Hour Law.

  62. In addition to fines resultant from a conviction of a disorderly persons offense for such

     discrimination, a violator of NJ Stat. 34:11-56a24 shall also “pay any such employee wages

     lost as a result of such …discriminatory action, under penalty of contempt proceeding for

     failure to comply with such requirement.”

  63. Defendants’ above actions constitute unlawful intimidation, coercion, manipulation

     amounting to retaliation directly resultant from Plaintiff filing of a complaint with the

     NJDOL for unpaid wages.

  64. As a direct and proximate result of Defendants’ retaliation, Plaintiff has suffered and seeks

     to recover damages as provided for in the statute and for such other and further relief.


                                     COUNT V
                      RECOVERY OF DAMAGES FOR DEFENDANTS’
                  DISCRIMINATION IN VIOLATION OF THE NEW JERSEY
                           LAW AGAINST DISCRIMINATION


  65. Plaintiff re-alleges, and incorporates here by reference, all allegations contained in the above

     paragraphs above.

  66. Plaintiff ‘s allegation that she is entitled to unpaid wages resultant from Defendants’ failure

     to compensate her overtime hours worked is protected activity under the Law Against

     Discrimination (LAD) N.J. Stat. 10:5-12(d).




                                                 9
Case 2:19-cv-20022-SDW-SCM Document 1 Filed 11/09/19 Page 10 of 11 PageID: 10



   67. Immediately resultant from Plaintiff’s notification that she was desirous of recouping her

      unpaid overtime from Defendants, Defendants commenced retaliatory action against

      Plaintiff as described in paragraphs 34 through 40 above.

   68. Defendants’ retaliatory actions, which began only after Plaintiff’s filing of an action for

      unpaid wages with the NJDOL, constitute coercion, intimidation, and interference with

      Plaintiff’s absolute right to file a complaint asserting entitlement to compensation resultant

      from Defendants’ unlawful acts of wage theft.

   69. Defendants’ retaliatory actions are directly resultant from Plaintiff’s filing a claim against

      Defendants for unpaid wages with the NJDOL. This retaliation is unlawful and actionable.

   70. As a direct and proximate result of Defendants’ actions, including but not limited to,

      stripping of Plaintiff’s job duties, the removal of Plaintiff’s access to Defendants’ computer

      and Plaintiff’s email, and Plaintiff’s termination, Plaintiff has sustained injury and has

      suffered. Plaintiff seeks to recover compensatory damages, including but not limited to, lost

      wages, front pay, liquidated damages, emotional distress damages, and reasonable

      attorneys’ fees and costs.

                                      COUNT V
                       RECOVERY OF DAMAGES FOR DEFENDANTS’
                       VIOLATION OF NEW JERSEY’S PAID SICK
                            LEAVE STATUTE SICK LEAVE


   71. Plaintiff re-alleges, and incorporates here by reference, all allegations contained in the above

      paragraphs above.

   72. Plaintiff was not provided sick leave.

   73. Defendants did not have a policy by which Plaintiff earned sick leave.




                                                  10
Case 2:19-cv-20022-SDW-SCM Document 1 Filed 11/09/19 Page 11 of 11 PageID: 11



   74. As a result of not earning sick leave, Plaintiff suffered damages. Plaintiff seeks actual

      damages, as well as liquidated damages.



                                          JURY TRIAL

   75. Plaintiff demands a jury trial.



       WHEREFORE, Plaintiff seeks the following relief:

         (1) on Plaintiff’s first cause of action against Defendants in an amount to be

 determined at trial, plus liquidated damages as permitted under the FLSA in the amount equal

 to the amount of unpaid wages, plus third year damages, as well as interest, attorneys’ fees and

 costs; and

         (2) on her remaining causes of action, in an amount to be determined at trial, plus

 attorneys’ fees and costs.

         Dated: November 9, 2019               Respectfully submitted,

                                               /s/ Andrew I. Glenn
                                               Andrew I. Glenn, Esq.
                                               Email: Aglenn@jaffeglenn.com
                                               Jodi J. Jaffe, Esquire
                                               E-mail: jjaffe@JaffeGlenn.com
                                               JAFFE GLENN LAW GROUP, P.A.
                                               301 N. Harrison Street, Ste. 9F, #306
                                               Princeton, New Jersey 08540
                                               Telephone: (201) 687-9977
                                               Facsimile: (201) 595-0308




                                                 11
